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                                UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF NEVADA
10
11   WILLIAM RANDOLPH,
                                                             Case No.: 2:20-cv-00097-RFB-NJK
12             Plaintiff(s),
                                                         REPORT AND RECOMMENDATION
13   v.
14   KSNV, et al.,
15             Defendant(s).
16         District courts screen complaints brought by plaintiffs seeking to proceed in forma
17 pauperis. 28 U.S.C. § 1915(e).1 A complaint should be dismissed for failure to state a claim upon
18 which relief may be granted “if it appears beyond a doubt that the plaintiff can prove no set of facts
19 in support of his claims that would entitle him to relief.” Buckey v. Los Angeles, 968 F.2d 791,
20 794 (9th Cir. 1992). A complaint may be dismissed as frivolous if it is premised on a nonexistent
21 legal interest or delusional factual scenario. Neitzke v. Williams, 490 U.S. 319, 327-28 (1989).
22 Moreover, “a finding of factual frivolousness is appropriate when the facts alleged rise to the level
23 of the irrational or the wholly incredible, whether or not there are judicially noticeable facts
24 available to contradict them.” Denton v. Hernandez, 504 U.S. 25, 33 (1992). When a court
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            Plaintiff neither paid the filing fee nor filed an application to proceed in forma pauperis,
26 which would ordinarily warrant issuance of an order that he do one or the other. Nonetheless,
   separate from the § 1915 screening process, district courts also have the authority to dismiss cases
27 sua sponte without notice to the plaintiff when he “cannot possibly win relief.” Sparling v.
   Hoffman Constr. Co., 864 F.2d 635, 638 (9th Cir. 1988). Regardless of whether Plaintiff intends
28 to proceed in forma pauperis, his case is subject to dismissal for the reasons discussed herein.

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 1 dismisses a complaint, the plaintiff should be given leave to amend with directions as to curing its
 2 deficiencies, unless it is clear from the face of the complaint that the deficiencies could not be
 3 cured by amendment. See Cato v. United States, 70 F.3d 1103, 1106 (9th Cir. 1995).
 4         On May 24, 2013, United States District Judge Andrew P. Gordon dismissed a complaint
 5 filed by Plaintiff because of, inter alia, its fanciful nature and the existence of only conclusory,
 6 incoherent allegations. Randolph v. Gillespie, Case No. 2:13-cv00320-APG-PAL, Docket No. 7
 7 (D. Nev. May 24, 2013). When Plaintiff failed to file an amended complaint curing those defects,
 8 Judge Gordon entered judgment. Id., Docket Nos. 11-12 (D. Nev. July 2, 2013).
 9         On January 10, 2020, Plaintiff filed the instant lawsuit, which appears to be an attempt to
10 appeal that entry of judgment or to file an amended complaint years later in an attempt to resolve
11 the previous deficiencies. See Docket No. 1-1 at 1, 8.2 Plaintiff alleges through this complaint
12 that he is entitled to $300,000,000,000 based on “Jehovah Almighty’s determination” that his
13 appeal has already succeeded. Id. at 6. As with the complaint filed previously, the instant
14 complaint is comprised of conclusory and incoherent ramblings that do not state a claim for relief.3
15         Accordingly, in light of the frivolous nature of Plaintiff’s complaint, the undersigned
16 RECOMMENDS that this case be DISMISSED with prejudice.
17         Dated: January 15, 2020
18                                                              ______________________________
                                                                Nancy J. Koppe
19                                                              United States Magistrate Judge
20
21                                              NOTICE
22         This report and recommendation is submitted to the United States District Judge assigned
23 to this case pursuant to 28 U.S.C. § 636(b)(1).         A party who objects to this report and
24 recommendation must file a written objection supported by points and authorities within fourteen
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             For unknown reasons, Plaintiff also references the 2013 entry of judgment in another of
26 his cases. See id. at 10-12 (attaching docket from Randolph v. Naph-Care Inc., Case No. 2:11-cv-
   01704-JCM-NJK (D. Nev)).
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             The deadline for filing an appeal of Judge Gordon’s entry of judgment expired years ago.
28 See Fed. R. App. P. 4(a).

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 1 days of being served with this report and recommendation. Local Rule IB 3-2(a). Failure to file
 2 a timely objection may waive the right to appeal the district court’s order. Martinez v. Ylst, 951
 3 F.2d 1153, 1157 (9th Cir. 1991).
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